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                                                                                                FILED
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                       JAN 2 2 2014
                                        Norfolk Division
                                                                                 CLERK, U.S. DfSIHiCI COURT
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JASON LANDIS LINDER,

               Petitioner,

       v.                                               CRIMINAL ACTION NO. 2:04crl6(5)

UNITED STATES OF AMERICA,

               Respondent.


                                   MEMORANDUM ORDER


       This matter is before the Court on Petitioner Jason Landis Linder's Motion to Vacate, Set

Aside or Correct a Sentence Previously Imposed pursuant to 28 U.S.C. § 2255 ("§ 2255 Motion").

Petitioner asks the Court to set aside or modify his sentence as a result of the Supreme Court's

decision in Alleyne v. United Stales, 133 S. Ct. 2151 (2013), which Petitioner characterizes as

newly discovered evidence.    Petitioner also argues that in light of the Supreme Court's ruling in

United States v. Booker. 543 U.S. 220, 125 S.Ct. 738. 160 L.Ed.2d 621 (2005), his Judgment

should be amended to impose the non-Guidelines alternative sentence this Court stated that it

would have imposed if it were not bound to follow the United States Sentencing Guidelines.

       Title 28 U.S.C. § 2255 authorizes a person in federal custody to seek to vacate his

sentence or conviction if either was improperly attained.   Section 2255(h) provides that a

"second or successive motion" must be certified by the appropriate court of appeals.    Petitioner

previously filed a motion to impose an alternative sentence, which this Court construed as a

petition under 28 U.S.C. § 2255.   This Court denied the motion on October 12, 2006. The instant

motion is the second § 2255 Motion filed by Petitioner. The Court has not received an order from

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the United States Court of Appeals for the Fourth Circuit ("Fourth Circuit") authorizing it to

consider Petitioner's second or successive § 2255 Motion and the record does not show that

Petitioner has moved for such a certificate of appealability.

       However, even if the petition was not a successive motion, the Petitioner's motion lacks

merit. First, the rule in Alleyne is not retroactive and precludes Petitioner from seeking redress

under 28 U.S.C. § 2255 because his conviction was final before the Supreme Court's decision.

See e.g., Simpson v. UnitedStates, 721 F.3d 875, 876 (7th Cir. 2013) (explaining that "[u]nless the

Justices ... decide that Alleyne applies retroactively on collateral review, we cannot authorize a

successive collateral attack ."); Lopez v. UnitedStates, 2013 U.S. Dist. LEXIS 121947, 2* n.2

(E.D. N.Y. 2013) ^'Alleyne has not been made retroactive by the Supreme Court to cases on

collateral review."); United States v. Condra, 2013 U.S. Dist. LEXIS 124257, 6* n.4 (W.D. Va.

2013) ("The Supreme Court did not declare the new rule in Alleyne retroactively on collateral

review, nor is it likely to do so."). Second, Petitioner's case was not pending on direct review

when Booker was decided and Booker does not provide a jurisdictional vehicle to activate an

alternative sentence. See United States v. Nguyen, 211 F. App'x 191, 193 (4th Cir. 2006) ("The

alternative sentence plays its role when resentencing is required by Booker. Booker, in turn,

applies retroactively only to cases that were pending on direct review when it was decided.").

       Because Petitioner has failed to obtain authorization from the Fourth Circuit to file a

successive petition, the Court lacks jurisdiction to consider this § 2255 Motion. Accordingly,

Petitioner's request is DISMISSED without prejudice to his ability to move the Fourth Circuit for

leave to file a successive § 2255 petition.

        The Court DIRECTS the Clerk to send Petitioner a copy of the instructions and form

packet for "Filing Motion Under 28 U.S.C. § 2244 For Order Authorizing District Court to

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Consider Second or Successive Application for Relief Under 28 U.S.C. §§ 2254 or 2255." The

Court ADVISES Petitioner that he may appeal this final order by forwarding a written notice of

appeal to the Clerk of the United States District Court, United States Courthouse, 600 Granby

Street, Norfolk, VA 23510. The Clerk must receive this written notice within sixty (60) days

from this Order's date.


       In addition, the Court DIRECTS the Clerk to send a copy of this Order to Petitioner and to

the United States Attorney.

       IT IS SO ORDERED.




Norfolk, Virginia                                             Raymond A. Jackson
January 2Z,2014                                               United States District Judge
